Case 2:O4-cv-O2617-SHI\/|-dkv Document 28 Filed 08/08/05 Page 1 of 2 Page|D 52

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FOR THE WESTERN DISTRICT OF TENNESSEE

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PRoDucTs, iNc., ` ` '
Plaimifr,
Vs. Case No. 04-2617Ma V

PENNSYLVANIA MANUFACTURERS’
ASSOCIAT|ON lNSURANCE COMPANY,

Defendant. JURY DEMANDED
ORDER GRANT|NG DEFENDANT'S MOTION FOR ADD|T|ONAL TlME TO
SUPPLEMENT RESPONSES TO CERTA|N |NTERROGATORIES AND REQUESTS
FOR PRODUCT|ON OF DOCUMENTS

This matter came on to be heard upon the motion of the Defendant for additional
time to supplement their responses to certain interrogatories and requests for documents
identified in this Court’s Order Granting in Part and Denying in Part P|aintiff’s |V|otion to
Compel entered Ju|y 18, 2005, upon the Certificate of Consu|tation of Counsel confirming
P|aintiff has no objection to said request, and upon the entire record in the cause from all
of which the Court finds that Defendant's motion is well taken and should be granted.

IT |S THEREFORE ORDERED, ADJUDGED AND DECREED that Defendant has
through and including August 11, 2005 to supplement their discovery responses in
accordance with this Court’s Order Granting in Part and Denying in Part Plaintiff’s Nlotion
to Compel entered July 18, 2005.

|T |S SO ORDERED this il day of ,2005.

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D|ANE K. VESCOVO
UNlTED STATES MAG|STRATE JUDGE

This docL.rnent entered on the docket sh et !négnégli cs
with Rule 55 and/or 32lbi FFiCrP on i/_§_ £Z

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 28 in
case 2:04-CV-026]7 Was distributed by faX, mail, or direct printing on
August 10, 2005 to the parties listed.

 

 

John S. Wilscn

WYATT TARRANT & COl\/[BS
1715 Aarcn Brenner Dr.

Ste. 800

Memphis7 TN 38120--436

Dale H. Tuttle

GLASSMAN .TETER EDWARD & WADE
26 N. Seccnd Street

Memphis7 TN 38103

Robert J. King

BROOKS PIERCE MCLENDON HUl\/[PHREY & LEONARD
P.O. BOX 26000

Greensboro, NC 27402

George W. chse

BROOKS PIERCE MCLENDON HUl\/[PHREY & LEONARD
P.O. BOX 26000

Greensboro, NC 27402

Robert L. Crawford

WYATT TARRANT & COl\/[BS
P.O. BOX 775000

Memphis7 TN 38177--500

Honorable Samuel Mays
US DISTRICT COURT

